  Case 1:21-cv-01484-ZNS
       Case 1:21-cv-01484-ZNS
                          Document
                              Document
                                   30  37 Filed 07/12/21
                                                Filed 07/06/21
                                                          Page 1
                                                               Page
                                                                 of 201 of 20



               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                  Bid Protest

                                                )
 WORKHORSE GROUP, INC.                          )          Redacted Version
                                                )
                    Plaintiff,                  )
                                                )   Case No. 21-1484 C
               v.                               )
                                                )   Judge Zachary N. Somers
 THE UNITED STATES,                             )
                                                )
                    Defendant,                  )
                                                )
 and                                            )
                                                )
 OSHKOSH DEFENSE, LLC,                          )
                                                )
                    Defendant-Intervenor.       )
                                                )
                                                )


               DEFENDANT-INTERVENOR OSHKOSH DEFENSE, LLC’S
                  MOTION TO DISMISS PLAINTIFF’S COMPLAINT


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      Case 1:21-cv-01484-ZNS
           Case 1:21-cv-01484-ZNS
                              Document
                                  Document
                                       30  37 Filed 07/12/21
                                                    Filed 07/06/21
                                                              Page 2
                                                                   Page
                                                                     of 202 of 20




                                                 TABLE OF CONTENTS

                                                                                                                                   Page
I.        STATEMENT OF THE CASE ............................................................................................1
II.       QUESTION PRESENTED ..................................................................................................2
III.      FACTUAL BACKGROUND ..............................................................................................2
          A.        The USPS’s Next Generation Delivery Vehicle Program .......................................2
          B.        USPS Selects Oshkosh Over Workhorse .................................................................3
          C.        Workhorse Fails To Complete the USPS Administrative Appeal Process ..............4
IV.       STANDARD OF REVIEW .................................................................................................6
V.        ARGUMENT .......................................................................................................................7
          A.        Workhorse’s Failure to Exhaust USPS’s Mandatory Administrative
                    Dispute Resolution Process Requires Dismissal of Its Complaint ..........................7
          B.        USPS’s Regulations Require Disappointed Offerors to Exhaust
                    Administrative Remedies before Seeking Judicial Review .....................................8
          C.        Workhorse’s Failure to Exhaust USPS’s Dispute Resolution Process is
                    Fatal to Its Complaint...............................................................................................9
          D.        The Complaint Should Be Dismissed Regardless of Whether the
                    Exhaustion Requirement is Jurisdictional ..............................................................11
                    1.         If the Exhaustion Requirement is Deemed “Jurisdictional,”
                               Dismissal is Required as a Matter of Law .................................................11
                    2.         The Court Should Dismiss the Protest Even if the Exhaustion
                               Requirement is Not “Jurisdictional” ..........................................................12
VI.       CONCLUSION ..................................................................................................................13




                                                                   i
   Case 1:21-cv-01484-ZNS
        Case 1:21-cv-01484-ZNS
                           Document
                               Document
                                    30  37 Filed 07/12/21
                                                 Filed 07/06/21
                                                           Page 3
                                                                Page
                                                                  of 203 of 20




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................7

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................7

Bell/Heery v. United States,
    739 F.3d 1324 (Fed. Cir. 2014)..................................................................................................6

Cedars-Sinai Med. Ctr. v. Watkins,
   11 F.3d 1573 (Fed. Cir. 1993)....................................................................................................6

Chevron, U.S.A. Inc. v. Natural Res. Def. Council, Inc.,
   467 U.S. 837 (1984) .................................................................................................................11

Corus Staal BV v. United States,
   502 F.3d 1370 (Fed. Cir. 2007)................................................................................................13

Eberhart v. United States,
   546 U.S. 12 (2005) ...................................................................................................................12

Fort Bend County, Texas v. Davis,
   139 S. Ct. 1843 (2019) .............................................................................................................12

Godwin v. United States,
   338 F.3d 1374 (Fed. Cir. 2003)..................................................................................................6

Hamlet v. United States,
  873 F.2d 1414 (Fed. Cir. 1989)..................................................................................................6

Harmonia Holdings Grp., LLC v. United States,
   147 Fed. Cl. 756 (2020) ...........................................................................................................13

McCarthy v. Madigan,
  503 U.S. 140 (1992) .................................................................................................................12

McKart v. United States,
  395 U.S. 185 (1969) ...................................................................................................................7

Mittal Steel Point Lisas Ltd. v. United States,
   548 F.3d 1375 (Fed. Cir. 2008)..................................................................................................8
                                                                   ii
   Case 1:21-cv-01484-ZNS
        Case 1:21-cv-01484-ZNS
                           Document
                               Document
                                    30  37 Filed 07/12/21
                                                 Filed 07/06/21
                                                           Page 4
                                                                Page
                                                                  of 204 of 20




Palladian Partners, Inc. v. United States,
   783 F.3d 1243 (Fed. Cir. 2015)................................................................................7, 10, 11, 13

Sandvik Steel Co. v. United States,
   164 F.3d 596 (Fed. Cir. 1998)..............................................................................................7, 10

Scheuer v. Rhodes,
   416 U.S. 232 (1974), overruled on other grounds by Harlow v. Fitzgerald,
   457 U.S. 800 (1982) ...................................................................................................................6

Sebelius v. Auburn Reg. Med. Ctr.,
   568 U.S. 145 (2013) .................................................................................................................11

Sims v. Afpel,
   530 U.S. 103 (2000) .................................................................................................................10

Ultra-Precision Mfg. v. Ford Motor Co.,
    338 F.3d 1353 (Fed. Cir. 2003)..................................................................................................6

United States v. L.A. Trucker Truck Lines, Inc.,
   344 U.S. 33 (1952) .....................................................................................................................8

Weinberger v. Salfi,
   422 U.S. 749 (1975) .................................................................................................................10

Williams v. United States,
   71 Fed. Cl. 194 (2006) ...............................................................................................................6

Statutes

39 U.S.C. § 401(2) .........................................................................................................................12

39 U.S.C. § 409 ..............................................................................................................................12

Other Authorities

13 C.F.R. § 121.1102 .....................................................................................................................10

39 C.F.R. § 601.107 ...............................................................................................................5, 8, 10

39 C.F.R. § 601.107(b) ................................................................................................................4, 8

39 C.F.R. § 601.108 .......................................................................................................................10

39 C.F.R. § 601.108(a).................................................................................................................4, 8

39 C.F.R. § 601.108(b) ....................................................................................................................9
                                                             iii
   Case 1:21-cv-01484-ZNS
        Case 1:21-cv-01484-ZNS
                           Document
                               Document
                                    30  37 Filed 07/12/21
                                                 Filed 07/06/21
                                                           Page 5
                                                                Page
                                                                  of 205 of 20




39 C.F.R. § 601.108(d)(3)............................................................................................................5, 9

39 C.F.R. § 601.108(h) ....................................................................................................8, 9, 11, 12

39 C.F.R. § 601.108(i) ...........................................................................................................5, 9, 13

RCFC 12(b)(1) .............................................................................................................................1, 6

RCFC 12(b)(6) .............................................................................................................................1, 6




                                                                      iv
     Case 1:21-cv-01484-ZNS
          Case 1:21-cv-01484-ZNS
                             Document
                                 Document
                                      30  37 Filed 07/12/21
                                                   Filed 07/06/21
                                                             Page 6
                                                                  Page
                                                                    of 206 of 20




         Pursuant to the Court’s June 17, 2021 Scheduling Order (Dkt. No. 15), and Rules

12(b)(1) and (6) of the Rules of the Court of Federal Claims (“RCFC”), Defendant-Intervenor

Oshkosh Defense, LLC (“Oshkosh”), respectfully requests that the Court dismiss the complaint

filed by plaintiff Workhorse Group, Inc. (“Workhorse”) for lack of subject matter jurisdiction or

for failure to state a claim upon which relief can be granted because Workhorse failed to exhaust

its administrative remedies with the United States Postal Service (“USPS”).

I.       STATEMENT OF THE CASE

         The Court should dismiss Workhorse’s Complaint because Workhorse failed to exhaust

its administrative remedies with the USPS. As the Federal Circuit Court of Appeals has

recognized, the doctrine of administrative exhaustion stands for the commonsense principle that

courts should not interfere with administrative decision making until an agency has fully

reviewed a matter and issued a final decision. This approach ensures more thorough agency

reviews, reduces the burden of litigation, and ensures that, if courts must become involved, they

do so on a complete record. To prevent parties from bypassing these administrative remedies,

courts typically decline to hear a case where the plaintiff has failed to exhaust the administrative

appeal process.

         USPS has such an administrative appeal process. If a disappointed offeror objects to a

USPS award, the offeror must first submit a disagreement letter to the contracting officer, and

then appeal the denial of the disagreement letter to the USPS’s Supplier Disagreement

Resolution (“SDR”) official. The disappointed offeror may file a lawsuit in federal court only

after the SDR official issues a final decision on the disagreement.

         Workhorse did not follow this straightforward process. After receiving notice that

Oshkosh’s more cost-effective and technically superior proposal was selected for award,
                                                 1
    Case 1:21-cv-01484-ZNS
         Case 1:21-cv-01484-ZNS
                            Document
                                Document
                                     30  37 Filed 07/12/21
                                                  Filed 07/06/21
                                                            Page 7
                                                                 Page
                                                                   of 207 of 20




Workhorse initiated step one of USPS’s administrative appeal process by submitting a

disagreement letter to the contracting officer. The contracting officer resolved the disagreement

by finding that the award was proper and Workhorse’s claims unsupported. Instead of appealing

the denial to the SDR official as required, Workhorse sat idle for three months before initiating

this action. Workhorse’s failure to complete the administrative appeal process is fatal to its case.

The Court should, therefore, dismiss Workhorse’s protest in its entirety and with prejudice.

II.     QUESTION PRESENTED

(1)     Whether Workhorse’s Complaint must be dismissed because Workhorse failed to exhaust

its administrative remedies with the USPS before filing a protest at the United States Court of

Federal Claims.

III.    FACTUAL BACKGROUND1

        A.     The USPS’s Next Generation Delivery Vehicle Program

        The USPS operates a fleet of over 200,000 vehicles in the United States and its

territories. Approximately 163,000 of those vehicles are approaching the end of their life cycle

and require costly modifications and maintenance to extend their use. In preparation for their

retirement, the USPS developed the Next Generation Delivery Vehicle Program (the “NGDV

Program”) to “design a vehicle that places the operator’s interactions with the vehicle at the

forefront of the design[,]” minimizing drivers’ time and effort, and safely, and effectively,

storing postal cargo. Dkt. No. 1 ¶ 17 (hereinafter, “Compl.”) (quoting Solicitation, Attachment

1, Amend. 1 (Statement of Work)).



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  For the sole purpose of this motion, Oshkosh will treat the allegations in Workhorse’s
complaint as true. Oshkosh reserves the right to challenge the accuracy of Workhorse’s
allegations in subsequent filings.
                                                 2
  Case 1:21-cv-01484-ZNS
       Case 1:21-cv-01484-ZNS
                          Document
                              Document
                                   30  37 Filed 07/12/21
                                                Filed 07/06/21
                                                          Page 8
                                                               Page
                                                                 of 208 of 20




       The NGDV Program proceeded in phases, including the Prototype Phase and the

Production Phase. Compl. ¶ 18. On December 27, 2019, USPS issued the solicitation for the

Production Phase (the “Solicitation”), which sought proposals for the award of an IDIQ fixed-

price contract for a minimum of 50,000 and maximum of 165,000 NGDVs. Compl. ¶¶ 24-25.

       The Solicitation stated that the USPS would award the contract “to the offeror whose

offer conforming to the solicitation is deemed to offer the Postal Service the best value, price and

other factors, as specified” in the Solicitation. Compl. ¶ 27 (quoting Solicitation at 9). USPS

would conduct its best-value analysis through two primary evaluation factors: (1) Total Cost of

Ownership; and (2) Technical. Compl. ¶ 34. The Technical factor was broken down into three

subfactors in order of descending importance: Design Quality and Technical Approach, Supplier

Capability, and Past Performance. Compl. ¶ 36. Each of the Technical subfactors were broken

down further into other subfactors. Id. The Technical factor was more important than Total Cost

of Ownership in calculating the best value to the USPS. Compl. ¶ 37.

       B.      USPS Selects Oshkosh Over Workhorse

       On July 14, 2020, Workhorse submitted a proposal in response to the Solicitation

proposing an all-electric vehicle design. Compl. ¶¶ 52-53. Workhorse also submitted an

unsolicited proposal from                             to build and maintain a nation-wide electric

vehicle infrastructure, which the USPS would need if it were to transition to all-electric vehicles

as Workhorse proposed. Compl. ¶ 60. Between September 3, 2020 and October 28, 2020,

Workhorse and USPS engaged in both written and oral discussions. Compl. ¶¶ 62-65.

       On February 23, 2021, USPS notified Workhorse that USPS had awarded a single IDIQ

contract to Oshkosh for the provision of NGDVs over 10 years. Compl. ¶ 66. The estimated


                                                 3
  Case 1:21-cv-01484-ZNS
       Case 1:21-cv-01484-ZNS
                          Document
                              Document
                                   30  37 Filed 07/12/21
                                                Filed 07/06/21
                                                          Page 9
                                                               Page
                                                                 of 209 of 20




value of the contract is $3.1 billion. Id. In contrast to Workhorse’s all-electric approach,

Oshkosh proposed a more flexible approach that utilized an internal-combustion-engine vehicle

in the near term with the option to transition to an electric vehicle in the medium to long term.

Compl. ¶ 67.

       After learning that its proposal had not been selected, Workhorse requested a debriefing,

which was held on March 3, 2021. Compl. ¶ 74. At the debriefing, the USPS described certain

strengths and weaknesses it identified in Workhorse’s proposal. Id. The USPS also indicated

that Workhorse’s proposal was rated less favorably than Oshkosh’s proposal on the Technical

evaluation factor, the most important factor. Id.

       C.      Workhorse Fails To Complete the USPS Administrative Appeal Process

       USPS regulations set out a mandatory, two-step process that disappointed offerors must

follow if they disagree with the USPS’s award decision. First, a disappointed offer (referred to

in the regulations as the “supplier”) must “lodge” its “disagreement” about the award of a

contract with the contracting officer “within 10 days of the date the supplier received notification

of award or 10 days from the date the supplier received a debriefing, whichever is later.”

39 C.F.R. § 601.107(b). The contracting officer then has 10 days to consider the disagreement,

before conveying its decision to the supplier. Id.

       Second, “if the supplier is not satisfied with the contracting officer’s resolution of the

disagreement . . . the SDR Official is available to provide final resolution of the matter.”

39 C.F.R. § 601.108(a). The disappointed offeror “must lodge the disagreement with the SDR

Official within 10 days after the supplier first receives notification of the contracting officer’s

resolution.” 39 C.F.R. § 601.108(d)(3). The SDR Official will then resolve the disagreement


                                                    4
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 10
                                                              Page
                                                                 of 20
                                                                    10 of 20




“within approximately 30 days” – a time period which “may be shortened or lengthened

depending on the complexity of the issues and other relevant considerations.” 39 C.F.R.

§ 601.108(i).

       After Workhorse learned that it was not selected for an award, it initiated the first step of

USPS’s two-step disagreement process by submitting a “disagreement letter” to the USPS

pursuant to 39 CFR § 601.107. Compl. ¶ 75. On March 22, 2021, USPS responded to the

disagreement letter outlining numerous weaknesses that were identified in Workhorse’s

proposal. Compl. ¶¶ 76-78. USPS also explained that Workhorse’s vehicle was ranked              out

of the five vehicles USPS evaluated, and had received a Technical score (the most important

factor) that was approximately       of Oshkosh’s score:




Compl. ¶ 81.

       After Workhorse received the response letter, USPS regulations required Workhorse, to

the extent it wished to pursue the matter, to “lodge the disagreement with the SDR Official.” 39

C.F.R. § 601.108(d)(3). Workhorse declined to follow USPS’s mandatory disagreement process,

but instead filed the instant protest with the Court. Compl. ¶ 90.




                                                 5
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 11
                                                              Page
                                                                 of 20
                                                                    11 of 20




IV.    STANDARD OF REVIEW

       Pursuant to RCFC 12(b)(1), a plaintiff’s claim must be dismissed if the plaintiff fails to

establish that the Court has subject-matter jurisdiction. RCFC 12(b)(1). “Jurisdiction is a

threshold issue and the Court must satisfy itself that it has jurisdiction to hear and decide a case

before proceeding to the merits.” Ultra-Precision Mfg. v. Ford Motor Co., 338 F.3d 1353, 1356

(Fed. Cir. 2003) (citations and quotation marks omitted). In considering a motion to dismiss for

lack of jurisdiction, the Court accepts as true the complaint’s undisputed allegations of fact and

construes the facts in the light most favorable to the plaintiff. See Williams v. United States, 71

Fed. Cl. 194, 197 (2006) (citing Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), overruled on

other grounds by Harlow v. Fitzgerald, 457 U.S. 800 (1982)). Once the defendant challenges

facts upon which plaintiff bases this Court’s jurisdiction, however, the plaintiff bears the burden

to demonstrate that jurisdiction exists. See Cedars-Sinai Med. Ctr. v. Watkins, 11 F.3d 1573,

1584 (Fed. Cir. 1993) (“The government’s factual challenge to the court’s jurisdiction placed the

burden on Cedars to demonstrate facts sufficient to support its contention regarding the court’s

jurisdiction. Once challenged, allegations alone are insufficient to meet the complainant’s

burden.”).

       Pursuant to RCFC 12(b)(6), dismissal for failure to state a claim should be granted when

a plaintiff fails to plead facts entitling it to a legal remedy. See Godwin v. United States, 338

F.3d 1374, 1377 (Fed. Cir. 2003). When deciding a motion to dismiss, the factual allegations of

the complaint should be construed favorably to the plaintiff. See Hamlet v. United States, 873

F.2d 1414, 1416 (Fed. Cir. 1989). But the rule that a court must accept as true all well-pleaded

factual allegations does not apply to legal conclusions. Bell/Heery v. United States, 739 F.3d


                                                  6
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 12
                                                              Page
                                                                 of 20
                                                                    12 of 20




1324, 1330 (Fed. Cir. 2014). A court may adopt a two-prong approach of “identifying pleadings

that, because they are no more than conclusions, are not entitled to the assumption of truth,” and

then determining whether the remaining well-pleaded factual allegations, if any, “plausibly give

rise to an entitlement of relief.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). “Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Id. at 678. Rather, a plaintiff’s allegations “must be enough to raise a right to relief above the

speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

V.     ARGUMENT

       A.      Workhorse’s Failure to Exhaust USPS’s Mandatory Administrative Dispute
               Resolution Process Requires Dismissal of Its Complaint

       Workhorse’s Complaint should be dismissed in its entirety because Workhorse failed to

exhaust its mandatory administrative remedies before USPS. “‘The doctrine of exhaustion of

administrative remedies is well established in the jurisprudence of administrative law.’”

Palladian Partners, Inc. v. United States, 783 F.3d 1243, 1254 (Fed. Cir. 2015) (quoting McKart

v. United States, 395 U.S. 185 (1969)). “It provides that ‘no one is entitled to judicial relief for a

supposed or threatened injury until the prescribed administrative remedy has been exhausted.’”

Palladian, 783 F.3d at 1254 (quoting Sandvik Steel Co. v. United States, 164 F.3d 596, 599 (Fed.

Cir. 1998)) (quoting McKart, 395 U.S. at 193) (internal quotations omitted). The doctrine

“stems from the notion that ‘“[s]imple fairness to those who are engaged in the tasks of

administration, and to litigants, requires as a general rule that courts should not topple over

administrative decisions unless the administrative body not only has erred but has erred against

objection made at the time appropriate under its practice.”’” Palladian, 783 F.3d at 1254



                                                  7
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 13
                                                              Page
                                                                 of 20
                                                                    13 of 20




(quoting Mittal Steel Point Lisas Ltd. v. United States, 548 F.3d 1375, 1383-84 (Fed. Cir. 2008)

(quoting United States v. L.A. Trucker Truck Lines, Inc., 344 U.S. 33, 37 (1952)).

       B.      USPS’s Regulations Require Disappointed Offerors to Exhaust
               Administrative Remedies before Seeking Judicial Review

       Here, USPS’s regulations plainly require exhaustion of administrative remedies before

pursuing judicial relief. 39 C.F.R. § 601.108(h) (“The Postal Service’s final contract award, as

described in paragraph § 601.108(g), may be appealed to a Federal court with jurisdiction based

only upon an alleged violation of the regulations contained in this part or an applicable public

law enacted by Congress. The party lodging the disagreement may seek review of the Postal

Service’s final contract award only after the mandatory administrative remedies provided under

§ 601.107 and § 601.108 have been exhausted.”) (emphasis added).

       The regulations describe a two-step process that must be exhausted before a disappointed

bidder may seek judicial review. First, a disappointed bidder must “lodge” its “disagreement”

about the award of a contract with the contracting officer “within 10 days of the date the supplier

received notification of award or 10 days from the date the supplier received a debriefing,

whichever is later.” 39 C.F.R. § 601.107(b). The contracting officer then has 10 days to

consider the disagreement, before conveying its decision to the supplier. Id. Second, “if the

supplier is not satisfied with the contracting officer’s resolution of the disagreement . . . the SDR

Official is available to provide final resolution of the matter.” 39 C.F.R. § 601.108(a). As

relevant here, “[w]here a supplier is dissatisfied with the contracting officer’s resolution of a

disagreement under § 601.107, the supplier must lodge the disagreement with the SDR Official

within 10 days after the supplier first receives notification of the contracting officer’s

resolution.” 39 C.F.R. § 601.108(d)(3). The SDO Official is to resolve the disagreement “within

                                                  8
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 14
                                                              Page
                                                                 of 20
                                                                    14 of 20




approximately 30 days” – a time period which “may be shortened or lengthened depending on

the complexity of the issues and other relevant considerations.” 39 C.F.R. § 601.108(i).

       As noted, USPS’s regulations expressly characterize this two-step process as a

“mandatory” remedy that must be “exhausted” before seeking judicial review. 39 C.F.R. §

601.108(h). The regulations further indicate that there is no “final” USPS decision until both

steps of this process are complete. Id.; see also id. § 601.108(g) (“A resolution by the SDR

Official will be final and binding. If the SDR Official’s final resolution affirms the original

contract award of the contracting officer, the contracting officer’s original contract award

becomes the Postal Service’s final contract award, and may be subject to judicial review as

described in paragraph (h) of this section.”) (emphasis added).

       USPS’s regulations explain the purpose of this mandatory dispute resolution procedure as

follows:

            This procedure is intended to expeditiously resolve disagreements that are
            not resolved at the responsible contracting officer level; to reduce
            litigation expenses, inconvenience, and other costs for all parties; to
            facilitate successful business relationships with Postal Service suppliers,
            the supplier community, and other persons; and to develop further the
            basis for the Postal Service’s purchasing decisions and the administrative
            records concerning those decisions.

39 C.F.R. § 601.108(b).

       C.      Workhorse’s Failure to Exhaust USPS’s Dispute Resolution Process is Fatal
               to Its Complaint

       Here, the Complaint alleges that Workhorse completed the first step of this two-step

process, but not the second step. Compl. ¶¶ 75-76 (alleging that Workhorse submitted a

“disagreement” pursuant to 39 C.F.R. § 601.107, and that this disagreement was denied), ¶ 90

(alleging that Workhorse initiated this protest after its disagreement letter was denied, without

                                                 9
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 15
                                                              Page
                                                                 of 20
                                                                    15 of 20




alleging that Workhorse first sought the SDR Official’s review pursuant to 39 C.F.R. § 601.108).

Because Workhorse did not exhaust USPS’s administrative dispute resolution process, this

protest should be dismissed.

       The Federal Circuit’s decision in Palladian is instructive. There, the Federal Circuit

reversed the COFC’s ruling on the protester’s Motion for Judgment on the Administrative

Record, finding that the case should have been dismissed because the protester had not exhausted

the Small Business Administration’s (“SBA”) mandatory administrative remedies before

pursuing its COFC protest. Palladian, 783 F.3d at 1258 (“Given these circumstances, we

conclude that SBA’s regulations require an interested party to participate in a pending OHA

NAICS code appeal, or be precluded from filing suit. As such, Palladian’s failure to participate

in the pending OHA appeal was a failure to exhaust its administrative remedies.”). In reaching

this holding, the Federal Circuit made clear that “[e]xhaustion may be required by statute,

regulation, or judicially-created common law.” Id. at 1255 (citing Weinberger v. Salfi, 422 U.S.

749 (1975); Sims v. Afpel, 530 U.S. 103, 108 (2000)). That is, “the ‘fact that the administrative

remedy was provided by a regulation rather than by a statute does not make the exhaustion

doctrine inapplicable or inappropriate.’” Palladian, 783 F.3d at 1255 (quoting Sandvik, 164 F.3d

at 600).

       Just as in Palladian, here, too, USPS’s regulations require exhaustion, and this

requirement is set forth in very similar regulatory language. Compare 13 C.F.R. § 121.1102

(“The OHA appeal is an administrative remedy that must be exhausted before judicial review of

a NAICS code designation may be sought in a court.”) with 39 C.F.R. § 601.108(h) (“The Postal

Service’s final contract award, as described in paragraph § 601.108(g), may be appealed to a


                                                10
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 16
                                                              Page
                                                                 of 20
                                                                    16 of 20




Federal court with jurisdiction based only upon an alleged violation of the regulations contained

in this part or an applicable public law enacted by Congress. The party lodging the disagreement

may seek review of the Postal Service’s final contract award only after the mandatory

administrative remedies provided under § 601.107 and § 601.108 have been exhausted.”).

        D.       The Complaint Should Be Dismissed Regardless of Whether the Exhaustion
                 Requirement is Jurisdictional

                 1.     If the Exhaustion Requirement is Deemed “Jurisdictional,” Dismissal is
                        Required as a Matter of Law

        Although the Court need not hold that USPS’s regulatory exhaustion requirement is

jurisdictional to dismiss the case, the Federal Circuit’s Palladian decision provides ample

support for such a finding. There, the Federal Circuit held that, where “Congress has specifically

delegated rulemaking authority to an agency, courts ‘lack[] authority to undermine the regime

established . . . unless [the] regulation is ‘arbitrary, capricious, or manifestly contrary to the

statute.’” Palladian, 783 F.3d at 1258 (quoting Sebelius v. Auburn Reg. Med. Ctr., 568 U.S. 145

(2013) (quoting Chevron, U.S.A. Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 844

(1984)). The Court further ruled that several of the potential exceptions to the exhaustion

doctrine did not apply because the SBA’s regulations made the exhaustion requirement

mandatory. Palladian, 783 F.3d at 1259 (“While it is true that there are circumstances under

which some types of exhaustion could be waived, the circumstances before us do not fall into

that category.”), 1260 (contrasting cases involving an exhaustion requirement in connection with

agency rulemaking which does not involve a mandatory “statutory or regulatory exhaustion

requirement”).

        Here, Congress expressly delegated rulemaking authority to USPS, even going so far as

to exempt USPS procurements from most of the traditional procurement laws that apply to most
                                           11
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 17
                                                              Page
                                                                 of 20
                                                                    17 of 20




other procurements. 39 U.S.C. §§ 401(2), 409. And, as discussed, USPS’s regulations clearly

state that the exhaustion requirement is mandatory. 39 C.F.R. § 601.108(h). Therefore, the

Court should dismiss Workhorse’s protest on the basis that the Court does not have jurisdiction

to consider the matter.

                2.        The Court Should Dismiss the Protest Even if the Exhaustion Requirement
                          is Not “Jurisdictional”

       However, even if the requirement is not deemed “jurisdictional,” the Court still must

dismiss the case unless one of the limited exceptions to the exhaustion principle apply. See Fort

Bend County, Texas v. Davis, 139 S. Ct. 1843, 1849 (2019) (“A claim-processing rule may be

‘mandatory’ in the sense that a court must enforce the rule if a party ‘properly raise[s]’ it.”)

(quoting Eberhart v. United States, 546 U.S. 12, 19, (2005)).

       Here, no exception to the exhaustion principle excuses Workhorse’s failure to exhaust its

administrative remedies. For example, Workhorse cannot claim that its “interests in immediate

judicial review outweigh the government’s interests in the efficiency or administrative autonomy

that the exhaustion doctrine is designed to further,” McCarthy v. Madigan, 503 U.S. 140, 146

(1992), because Workhorse waited over three-and-a-half months to file this protest after it

learned Oshkosh won the contract on February 23, 2021, see Compl. ¶ 8, and nearly three

months after receiving USPS’s response to its disagreement on March 22, 2021, Compl. ¶ 76.

In the face of such a delay, Workhorse cannot plausibly claim that judicial review was so urgent

that it could not participate in USPS’s mandatory dispute resolution procedure before its SDR

Official – a process which is designed to take approximately 30 days to complete. 39 C.F.R.

§ 601.108(i).



                                                 12
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 18
                                                              Page
                                                                 of 20
                                                                    18 of 20




       Workhorse is also precluded from relying on the “futility” exception to the administrative

exhaustion doctrine. The Federal Circuit has instructed that this exception must be applied very

narrowly, and that the fact that an adverse decision may be likely provides no basis for excusing

a failure to exhaust administrative remedies. Palladian, 783 F.3d at 1256 n.3 (“‘The mere fact

that an adverse decision may have been likely does not excuse a party from a statutory or

regulatory requirement that it exhaust administrative remedies.’”) (quoting Corus Staal BV v.

United States, 502 F.3d 1370, 1379 (Fed. Cir. 2007)); see also Harmonia Holdings Grp., LLC v.

United States, 147 Fed. Cl. 756, 774 (2020).

VI.    CONCLUSION

       Workhorse failed to exhaust its administrative remedies as required under USPS

regulations and Federal Circuit precedent. For the reasons stated above, Oshkosh respectfully

requests that the Court grant its Motion to Dismiss, and dismiss Workhorse’s entire complaint

with prejudice.




                                               13
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 19
                                                              Page
                                                                 of 20
                                                                    19 of 20




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                                     14
 Case 1:21-cv-01484-ZNS
      Case 1:21-cv-01484-ZNS
                         Document
                             Document
                                  30  37 Filed 07/12/21
                                               Filed 07/06/21
                                                         Page 20
                                                              Page
                                                                 of 20
                                                                    20 of 20




                                CERTIFICATE OF SERVICE

           I hereby certify that on this 6th day of July, 2021, I caused a copy of the foregoing

Oshkosh Defense, LLC’s Motion to Dismiss Plaintiff’s Complaint to be served via electronic

service through the Courts ECF filing system on all parties of record.




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